UNITED STATES DlSTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
Charlotte DlVlSION

[)OCKET NO_ is_cv-oooqs

Raymond Benitez,

 

 

 

individually and on behalf`ot`all others similarly situated )
)

Plaintiff, )

. . )

VS_Charlotte-Mecklenburg Hospita| Authorlty, ) MOTION FOR ADMISSION
d/b/a Carolinas l-lealthcare System, Atrium ) pRO HAC V]CE
Heallh , ) and AFFIDAVlT

)
Defendant. )
)
)
NOW COMES Adam S' Hocutt (“Local Counsel”), a member in good

 

standing with the Bar with the United States District Court for the Western District of North
Carolina (“WDNC”), and moves for the admission of Lauren M' Weinstein

(“Applicant”), who seeks permission to represent Raymond Benitez’
individually and on behalf of all others similarly situated

 

 

 

(“Client”) in this above-captioned case.

 

By signing this motion, Loca| Counsel and Applicant certify that:
l. Applicant is a member in good standing of the bar of the highest court ofthe State

or of the District of Columbia Where Applicant regularly practices law, which is
New York

 

2‘ Applicant practices under the name of or as a member of the following firm;
Firm Name: MoloLamken LLP

 

Mailing Address: 430 Park Avenue

 

City f State j Zip: New York, New York, 10022

 

Telephone Numher: 212'607'8160 Faesimile Number: 212'607'8161

Email Addrcss (required): lweinstein@mololamken.com

 

 

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3. Applicant certifies that s/he is also admitted to practice before and remains in good

standing with the Courts in the followingjurisdictions:
District of Columbia; United States Court oprpeals for the 2nd, 9th, l lth, and Federal Circuits

 

United States Supreme Court; United States District Court for the Southern Distri_ct of New York

 

4. Applicant certifies s/he has never been the subject of any formal suspension or
disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction
or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice
before any judicial or administrative body suspended or revoked; and has never received public
discipline by any court or lawyer regulatory organization If Applicant cannot so certify, the
applicant has attached a separate explanation including particular information disclosing the
disciplinary history or the denial ofadmission.

5. Applicant certifies that the client requested Applicant to represent it in this matter,
along with Locai Counsel.

6. Applicant agrees to be subject to the Orders of the WDNC, including the Loca|
Rules of the WDNC, and amenable to the disciplinary action and the civil jurisdiction of the
WDNC in all respects as if the applicant were a regularly admitted and licensed member of the

Bar ofthis Court in good standing.

7. Local Counsel is satisfied that Applicant is qualified to practice before the Bar of
the WDNC.

8. Local Counsel has conferred with counsel for the other parties, who have indicated
they oppose this motion.

9. The required fee for admission pro hac vice is being submitted with the filing of
this motion.

l(). Applicant consents to electronic notification

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By signing this Motion, we so certify.
This, the l day of March , 20£.

M/\/ A_ HOL/L»@éé// /s/ Lauren l\/I. Weinstein

Local

Atlorney Name

Bar Number

Firrn Na)nc

Finn Address

Fin'n City ." State fZip
Te|ephone Number
Fax Number

Email Address

 

Counsel Applicant
Adam S. l'locutt

39760

Dozier Miller Law Group

301 S. McDowe|l St., #700

Char|otte, North Carolina, 28204

704-372-6373

704-347-06'."4

ahocnlt@doziermillerlaw.com

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